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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

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                                      :
 UNITED STATES OF AMERICA,            :
                                      :
                 Plaintiff,           :
                                                           Civil Action No: 99-2496 (PLF)
                                      :
       v.
                                      :
 PHILIP MORRIS USA INC., et al.,      :
                                      :
                 Defendants.          :
                                      :
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       NATIONAL ASSOCIATION OF CONVENIENCE STORES’ RESPONSE TO
  THE PARTIES’ JOINT MOTION TO ENTER FOURTH SUPERSEDING CONSENT
    ORDER IMPLEMENTING THE CORRECTIVE-STATEMENTS REMEDY AT
                           POINT OF SALE

       The National Association of Convenience Stores (“NACS”), through counsel,

respectfully submits this response to the parties’ Joint Motion to Enter Fourth Superseding

Consent Order Implementing the Corrective-Statements Remedy at Point of Sale (ECF No.

6507) (“Joint Motion”). NACS is an international trade association representing the convenience

industry. In the United States, there are more than 148,000 convenience stores and more than

sixty percent of these retailers are single-store operators. The proposed Fourth Superseding

Consent Order Implementing the Corrective-Statements Remedy at Point of Sale (“Proposed

Order”), which is attached as Exhibit 1 to the Joint Motion will impact a significant number of

NACS’s members that have contracts with at least one of the defendant manufacturers. As the

Court is well-aware, NACS has participated in this case as amicus for several years at the

Court’s invitation. See Order #19-Remand, Dkt. No. 5916 (Apr. 11, 2011); Opinion & Order

No. 92 Remand, Dkt. No. 6308 (Dec. 20, 2019).
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       NACS participated in the parties’ negotiations regarding the settlement and the Proposed

Order. NACS has no objection to the Court entering the Proposed Order. In light of the unique

facts and history of the manufacture and use of cigarettes as well as the particular circumstances

of this litigation, the Proposed Order fulfills the Court’s responsibilities as described in the D.C.

Circuit’s decision in United States v. Philip Morris USA Inc., 566 F.3d 1095, 1142 (D.C. Cir.

2009) (per curiam).

       NACS, as a non-party friend of the court, will voluntarily participate in a working group

that the Proposed Order will establish and will inform its members of the provisions of the

Proposed Order as well as how to comply with its terms. NACS’ position is that objections to

the Proposed Order would not be in the best interests of the convenience industry.

       For the foregoing reasons, NACS does not object to the Court’s acceptance of the parties’

Joint Motion and Proposed Order.


Dated: July 18, 2022                                   Respectfully submitted,


                                                         /s/ Michael J. Baratz
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